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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                §
 In re:                                                              Chapter 11
                                                                §
                                                                §
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                                Case No. 19-34054-sgj11
                                                                §
                                                                §
                                    Reorganized Debtor.
                                                                §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                             §
                                                                §
                                    Plaintiff,                  §    Adversary Proceeding No.
                                                                §
 vs.                                                            §    21-03010
                                                                §
 HIGHLAND CAPITAL MANAGEMENT FUND                               §
 ADVISORS, L.P. AND NEXPOINT ADVISORS,                          §
 L.P.,                                                          §

                                    Defendants.




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.

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                HIGHLAND’S NOTICE OF RULE 30(b)(6) DEPOSITION
            TO HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.

         PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

Bankruptcy Procedure, Highland Capital Management, L.P., the reorganized debtor 2 (“Highland”

or, as may be temporally required, the “Debtor”) in the above-captioned chapter 11 case (the

“Bankruptcy Case”) and plaintiff in the above-captioned adversary proceeding (the “Adversary

Proceeding”), shall take the deposition of Highland Capital Management Fund Advisors, L.P.

(“HCMFA”) by the person(s) most qualified to testify on the Advisors’ behalf with respect to the

topics described in Exhibit A attached hereto on October 18, 2021, commencing at 9:30 a.m.

Central Time or at such other day and time as Highland may agree in writing. The deposition

will be taken under oath before a notary public or other person authorized by law to administer

oaths and will be visually recorded by video or otherwise.

         The deposition will be taken remotely via an online platform due to the coronavirus

pandemic such that no one will need to be in the same location as anyone else in order to

participate in the deposition and by use of Interactive Realtime. Parties who wish to participate




2
  On February 22, 2021, the Bankruptcy Court entered the Order (i) Confirming the Fifth Amended Plan of
Reorganization (as Modified) and (ii) Granting Related Relief [Bankr. Docket No. 1943] (the “Confirmation Order”)
which confirmed the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P., as modified (the
“Plan”). The Plan went Effective (as defined in the Plan) on August 11, 2021, and Highland is the Reorganized Debtor
(as defined in the Plan) since the Effective Date. See Notice of Occurrence of Effective Date of Confirmed Fifth
Amended Plan of Reorganization of Highland Capital Management, L.P. [Bankr. Docket No. 2700].

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in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

jmorris@pszjlaw.com no fewer than 72 hours before the start of the deposition for more

information regarding participating in this deposition remotely.



 Dated: October 5, 2021.                  PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ John A. Morris
                                          Jeffrey N. Pomerantz (CA Bar No.143717)
                                          Ira D. Kharasch (CA Bar No. 109084)
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                                          -and-
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                                                  EXHIBIT A

                                                DEFINITIONS

                   1.       “Admin Claim” means the administrative claim asserted by the Advisors

against Highland at Docket No. 1826. 3

                   2.       “Advisors” means HCMFA and NexPoint Advisors, L.P., individually and

collectively, and together with anyone authorized to act on their behalf.

                   3.       “Communications” means the transmittal of information (in the form of

facts, ideas, inquiries, or otherwise) and includes all oral and written communications of any

nature, type or kind including, but not limited to, any ESI (and any attachments thereto),

Documents, telephone conversations, text messages, discussions, meetings, facsimiles, e-mails,

pagers, memoranda, and any other medium through which any information is conveyed or

transmitted.

                   4.       “Concerning” means and includes relating to, constituting, defining,

evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

                   5.       “Discovery Requests” means (i) the Debtor’s First Requests for Admission

Directed to NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors, L.P., (ii)

the Debtor’s First Request for Production of Documents Directed to NexPoint Advisors, L.P. and

Highland Capital Management Fund Advisors, L.P., and (iii) the Debtor’s First Interrogatories

Directed to NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors, L.P.

                   6.       “Document” means and includes all written, recorded, transcribed or

graphic matter of every nature, type and kind, however and by whoever produced, reproduced,

disseminated or made. This includes, but is not limited to, Communications, ESI, “writings” as


3
    Refers to docket numbers maintained in the main Bankruptcy Case.


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defined by Rule 1001 of the Federal Rules of Evidence, copies or drafts, and any tangible or

intangible thing or item that contains any information. Any Document that contains any comment,

notation, addition, insertion or marking of any type or kind which is not part of another Document,

is to be considered a separate Document.

                 7.         “Former Dual Employees” refers to the employees who were dual

employees of Highland and the Advisors under the PRAs, as alleged in the Advisors’ Admin

Claim ¶¶ 9-11.

                 8.         “Mandatory Injunction Hearing” refers to the evidentiary hearing held on

February 23, 2021, Concerning Debtor’s Emergency Motion for a Mandatory Injunction

Requiring Advisors to Adopt and Implement a Plan for the Transition of Services by February 28,

2021 [Adv. Pro. Docket No. 2], and all pleadings filed, and depositions taken, in connection

therewith. See, e.g., Adv. Docket Nos. 10, 15-20.

                 9.         “PRAs” refer to (i) the Payroll Reimbursement Agreement between

Highland and NexPoint, entered into on or about May 1, 2018, and amended on December 14,

2018 pursuant to that certain Amendment Number One to Payroll Reimbursement Agreement and

(ii) the Payroll Reimbursement Agreement between Highland and HCMFA, entered into on or

about May 1, 2018, and amended on December 14, 2018 pursuant to that certain Amendment

Number One to Payroll Reimbursement Agreement.

                 10.        “Shared Services Agreements” refer to: (i) the Amended and Restated

Shared Services Agreement, effective as of January 1, 2018, between Highland and NexPoint; and

(ii) the Second Amended and Restated Shared Services Agreement, effective as of February 8,

2013, between Highland and HCMFA.

                 11.        “You” or “Your” refers to the Advisors, individually and collectively, and

anyone person or entity authorized to act on behalf of either of the Advisors.


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                                      Rule 30(b)6) Topics

Topic No. 1:

         Your Admin Claim.

Topic No. 2:

        The PRAs, including (i) services provided to You thereunder, (ii) payments made or owing

by You thereunder, (iii) any alleged breaches by Highland thereunder, as alleged in Your Admin

Claim, and (iv) all Communications with Highland Concerning Highland’s compliance or failure

to comply with the PRAs, including any demands, notices, or requests concerning such

compliance or failure to comply.

Topic No. 3:

         The Shared Services Agreements, including (i) services provided to You thereunder, (ii)

payments made or owing by You thereunder, (iii) any alleged breaches by Highland thereunder,

as alleged in Your Admin Claim, (iv) all Communications with Highland Concerning Highland’s

compliance or failure to comply with the Shared Services Agreements, including any demands,

notices, or requests concerning such compliance or failure to comply; and (v) any amendments

or extensions of the Shared Services Agreements, including the facts and circumstances

Concerning any such amendments or extensions.

Topic No. 4:

         The Former Dual Employees.

Topic No. 5:

        The Mandatory Injunction Hearing, including all statements, arguments, allegations,

testimony and documentary evidence offered by the Advisors in connection the Mandatory

Injunction Hearing.




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Topic No. 6:

         Your responses to the Discovery Requests.




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